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IN THE UNITED sTATEs DISTRICT C pRT \p@ "\ @/,

FOR THE WESTERN DISTRICT OF T - "<

 

EASTERN DIVISION ~‘O€
MONTIE ARRINGTON, )
Plaintiff, g
vs. ) NO.: 04-1059-An
UNITED STATES OF AMERICA, §
Defendant. §

 

ORDER

 

Pursuant to written notice, a telephone Status Conference was held on May 3, 2005
between Michael L. Weinman, counsel for Plaintiff, and Gary Vanasek, counsel for Defendant.
At the conference, the following dates were established as the final dates for:

The parties shall have until .]uly 15, 2005 to file dispositive motions, if any, as to liability
and the responding party shall have until August 19, 2005 to file a response

lf necessary after the Court rules on the issue of liability, another Status Conference will
be set to discuss when the case will be ready to set for non-jury trial.

IT IS SO ORDERED.

<§WM 521 1

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 797/§ 05/ 2005

Thls document entered on the docket sheet ln compliance
with nuie 58 and,'or_rs (a) FacP on 5 l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case l:04-CV-01059 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

